USCA4 Appeal: 23-1059   Doc: 81    Filed: 04/17/2023   Pg: 1 of 2




                                                               FILED: April 17, 2023


                          UNITED STATES COURT OF APPEALS
                              FOR THE FOURTH CIRCUIT


                                  ___________________

                                       No. 23-1059
                                     (10-CC-276241)
                                     (10-CE-271046)
                                     (10-CE-271053)
                                     (10-CC-276207)
                                     (10-CE-276221)
                                     (10-CC-276208)
                                     (10-CE-271047)
                                     (10-CE-271052)
                                     (10-CE-276185)
                                  ___________________

        SOUTH CAROLINA STATE PORTS AUTHORITY

                    Petitioner

        THE STATE OF SOUTH CAROLINA; UNITED STATES MARITIME
        ALLIANCE, LTD.

                    Intervenors

        v.

        NATIONAL LABOR RELATIONS BOARD

                    Respondent

        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION, LOCAL 1422;
        INTERNATIONAL LONGSHOREMEN'S ASSOCIATION
USCA4 Appeal: 23-1059       Doc: 81       Filed: 04/17/2023     Pg: 2 of 2



                       Intervenors

        ------------------------------

        NATIONAL RIGHT TO WORK LEGAL DEFENSE FOUNDATION;
        CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA;
        SOUTH CAROLINA CHAMBER OF COMMERCE; NATIONAL
        ASSOCIATION OF MANUFACTURERS; SOUTH CAROLINA
        MANUFACTURERS ALLIANCE; GOVERNOR HENRY MCMASTER

                       Amici Supporting Petitioner

                                         ___________________

                                              ORDER
                                         ___________________

               Upon consideration of Respondent’s unopposed motion to extend the deadline

        for filing a response brief to May 5, 2023, the court grants the motion.

                                                For the Court

                                                /s/ Patricia S. Connor, Clerk
